Case 2:OO-CV-02923-SH|\/|-egb Document 249 Filed 07/12/05 Page 1 0f4 Pa e|D 421

FILE BY __ n_c,
IN THE UNITED sTATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE 05 JUL |2 p" 5, w
WESTERN DIvIsION

 

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EQUAL EMPLOYMEN'I‘ OPPORTUNITY WD 1`);"- ` F.]:;§§@PH[S
COMMISSION, and
CONS'I‘ANCE AMOS,
Plaintiffs,
VS. NO. 00-2923-Ma

AUTOZONE, INC.,

Defendant.

 

ORDER GR.ANTING MOTION TO EXCEED PAGE LIMITATION

 

Before the court is the defendant's July 8, 2005, unopposed
motion requesting permission to file a brief in support of its
motion for summary judgment which is in excess of the Rule 7.2(e)
page limitation. For good cause shown, the motion is granted and
defendant may file the memorandum in excess Of the page
limitation.

lt is so ORDERED this '|MK day of July, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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with Hule 58 and/or ?9(&) FRCP on " ' p ama

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 249 in
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Honorable Samuel Mays
US DISTRICT COURT

